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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

      v.                                               Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                   Defendant.

                       PRESIDENT DONALD J. TRUMP’S
           MOTION TO EXTEND PAGE LIMITS AND TIME TO RESPOND TO
           GOVERNMENT’S MOTION FOR IMMUNITY DETERMINATIONS
                    AND FOR LEAVE TO FILE A SUR-REPLY

       President Donald J. Trump respectfully moves for leave to file a 180-page Response and

Renewed Motion to Dismiss Based on Presidential Immunity (“Response”) to the Special

Counsel’s Motion for Immunity Determinations, Doc. 252 (the “Motion”).

       President Trump further moves for a 5-week extension of the deadline to file his Response,

to November 21, 2024, and for leave to file a 25-page sur-reply by December 19, 2024. In support,

President Trump states as follows:

                                         BACKGROUND

       The Special Counsel returned a Superseding Indictment on August 27, 2024. Doc. 226.

Thereafter, the parties filed a joint status report, Doc. 229. In this submission, the Special Counsel

requested leave to file an “opening brief,” that it claimed would justify its own charging instrument

and “explain why the immunity set forth in Trump does not apply to the categories of allegations

in the superseding indictment.” Id. at 2. President Trump objected to this approach, which violates

established criminal procedure and unconstitutionally deprives him of his Sixth Amendment rights

to call and cross-examine witnesses. Instead, President Trump requested a standard briefing




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sequence, which would entail President Trump raising and the Court resolving several threshold

questions of law before entertaining other submissions. Id. at 3–10.

       The Court held a hearing on September 5, 2024, Doc. 232. At the hearing—which the Court

had postponed for three weeks at the Special Counsel’s request—the Special Counsel disclosed

that its proposed immunity briefing was already “underway,” but that it required an additional three

weeks to finish drafting, and to “package the exhibits.” Tr. at 16. Despite this prior work, the

Special Counsel did not indicate that its proposed brief would exceed this District’s page limits,

LCrR 47(e), and it did not seek any relief in that respect.

       Over President Trump’s objection, the Court granted the Special Counsel’s request to

submit an opening brief. Doc. 233 at 2. Moreover, the Court granted the Special Counsel’s request

for an additional three weeks to complete its drafting, setting a September 26, 2024, deadline. Id.

The Court did not alter applicable page limits, and, based on those standard limits, ordered that

President Trump submit his Response by October 17, 2024, with the Special Counsel’s reply due

October 29, 2024. Id. The Court indicated that, although this schedule would allow the Special

Counsel to file two briefs (instead of the standard one brief in response to a motion to dismiss), it

was not “inherently unfair,” in part because “if [President Trump] want[s] to file a sur-reply, [he]

can ask for leave to file a sur-reply,” with the initial the schedule being “just a matter of who goes

first.” Sep. 5, 2024, Hr’g Tr. at 27–8.

       Finally, the Court ordered that President Trump submit: (1) replies in support of his pending

discovery motions (by September 26, 2024); (2) a supplement to his statutory motion to dismiss

(by October 3, 2024); and (3) a motion for leave to file a motion to dismiss based on the

Appointments and Appropriations Clauses (by October 24, 2024, with a reply due November 7,

2024). Doc. 233 at 2.



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       On September 21, 2024, less than a week before its immunity brief was due, the Special

Counsel moved to quadruple its applicable page limits, to 180. The Special Counsel notified

President Trump that it would seek this relief just one day prior. President Trump objected,

emphasizing “the unprecedented and irregular nature of the Office’s approach on remand.” Doc.

242 at 1. The Court overruled President Trump’s objection, holding “[t]he length and breadth of

the Government’s proposed brief” was appropriate given the “uniquely ‘challenging’ and

factbound nature of [immunity] determinations.” Doc. 243 at 2 (quoting Trump v. United States,

144 S. Ct. 2312, 2340 (2024)).

       On September 26, 2024, the Special Counsel filed its oversized brief, together with an

extensive appendix and hundreds of exhibits, under seal. Doc. 245. The Special Counsel further

moved to seal an unredacted copy of its brief and exhibits, while proposing redactions for copies

that it would file publicly. Doc. 246. The Court ordered that President Trump respond to these

proposed redactions on an expedited basis, setting deadlines for October 1, 2024, 12:00 PM (for

the brief) and October 10, 2024, 5:00 PM (for the appendix). Sep. 27, 2024, Minute Order.

                                         ARGUMENT

       As an initial matter, the Court should expand the page limits for President Trump’s

Response to match the 180 pages provided to the Special Counsel. The Court has decided, over

President Trump’s objections, that extensive factual submissions are appropriate at this juncture.

Having made that determination, President Trump must have an equal opportunity to submit and

address facts bearing on immunity, and to rebut the Special Counsel’s misleading submissions.

Accordingly, the Court should grant President Trump leave to file a 180-page Response.

       Regarding timing, President Trump seeks a 5-week extension of his filing deadline. This

resembles the 3-week extension the Court previously provided the Special Counsel, Aug. 9, 2024,



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Minute Order, which allowed the Special Counsel to work on its initial brief before the September

status conference. In total, the requested extension would provide President Trump 8 weeks to file

his Response, which approximates the 6 weeks the Court granted the Special Counsel (including

a 3-week extension before the status conference, and an additional 3 weeks thereafter to finalize

its brief and exhibits). Additionally, the extension reflects: (1) the enormous size of the Special

Counsel’s filing, which will take substantial time to review, consider, and respond to, and (2) the

importance of the issues at stake. Trump, 144 S. Ct. at 2332 (“[L]ike the underlying immunity

question, th[e] categorization [of official and unofficial acts] raises multiple unprecedented and

momentous questions about the powers of the President and the limits of his authority under the

Constitution.”).

       As the Court indicated previously, President Trump should have sufficient time to respond

to the Special Counsel’s Motion. Sep. 5, 2024, Hr’g Tr. at 32 ([The Court]: [W]e haven't discussed

how much time you need. You can have time to respond. . . . You can have additional time during

those three weeks and then the other time that I give you to properly respond to their opening

briefs. I don't think this is prejudicial to you at all.”). Here, given the extraordinary, and only

recently disclosed, quadrupling of the Special Counsel’s submission length, and the need for

President Trump to respond on equal terms, an additional 5 weeks is entirely reasonable.

       Nor will any party be prejudiced by the requested extension. The Special Counsel has

already submitted its initial brief, and no trial has been scheduled. Id. at 31 ([The Court]: “We’re

hardly sprinting to a finish line here. We all know, we all know that whatever my ruling on

immunity is, it's going to be appealed and the taking of that appeal will again stay this case. So no

one here is under any illusion that we're sprinting towards any particular trial date.”).




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       At the same time, President Trump will continue his work on multiple other pending

submissions, including a supplement to his statutory motion to dismiss, a motion for leave to file

an Appointments and Appropriations motion, and an expedited response to the Special Counsel’s

motion to seal, all of which are: (1) due in the near future, and (2) draw significant resources from

the Response. Adequately responding to a 180-page brief, together with hundreds of exhibits, is

an enormous undertaking under any circumstance. To do so by October 17—while at the same

time grappling with the Special Counsel’s motion to seal and the other dispositive motions that

President Trump must file—is not practical and is at odds with the Supreme Court’s directive to

carefully consider these momentous issues. Accordingly, good cause exists to extend the Response

deadline by 5 weeks, to November 21, 2024. Fed. R. Crim. P. 45(b)(1)(A).

       Finally, President Trump seeks leave to file a sur-reply. As noted above, the Response

serves as both President Trump’s opposition to the Special Counsel’s Motion for Immunity

Determinations, and as an affirmative motion to dismiss. Under ordinary circumstances, President

Trump would have every right to file a reply in support of such a motion to dismiss. LCrR 47(d);

Sep. 5, 2024, Hr’g Tr. at 12 ([The Court]: “Normally there's a challenge filed by the defense, an

opposition by the Government and a reply by the defense. So why should we depart from the

ordinary course here?”).

       Although the Court determined that the Special Counsel should “go[] first” for scheduling

purposes, id. at 27–8, this “atypical sequence,” Doc. 243 at 2, should not adversely affect President

Trump’s right to submit complete briefing. Just the opposite, as the Court acknowledged, the

unorthodox briefing order weighs in favor of a sur-reply. Sep. 5, 2024, Hr’g Tr. at 27–8 ([The

Court]: “There's nothing inherently violative of due process by the Government filing an open

brief and your getting an advance look at their arguments, have a chance to respond and address



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them. The Government replies. And if you want to file a sur-reply, you can ask for leave to file a

sur-reply. But there's nothing inherently unfair in that. It's just a matter of who goes first.”).

        Additionally, a sur-reply would not provide President Trump any unfair advantage. Rather,

it would equalize the currently unequal posture by allowing both parties to submit the same two

briefs with the same page limits, irrespective of who the Court chose to file first. Such a procedure

serves both fundamental fairness, and the Supreme Court’s directive to give full and careful

consideration to these momentous issues. Trump, 144 S. Ct. at 2332. Accordingly, the Court should

grant President Trump leave to file a 25-page sur-reply. As the Special Counsel’s reply is due 2

weeks after President Trump’s Response, the Court should grant President Trump the same two

weeks to file his sur-reply. Accounting for the extension requested above, this would result in

deadlines of December 5, 2024, for the Special Counsel’s reply, and December 19, 2024, for

President Trump’s sur-reply.

                                           CONCLUSION

        The Court should grant President Trump leave to file a 180-page Response by November

21, 2024. The Court should further grant President Trump leave to file a 25-page sur reply by

December 19, 2024. The Special Counsel indicates that it does not object to a 180-page limit for

the Response, but opposes President Trump’s requests for a deadline extension and for a sur-reply.




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Dated: October 2, 2024                   Respectfully submitted,

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